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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

Drew Katz and Melissa Silver, individually and as the Co-
Personal Representatives of the Estate of Lewis A. Katz,
deceased

                            Plaintiffs,                      No.: 16-cv-11380-DJC

v.

SPINIELLO COMPANIES, a New Jersey Corporation;
SK TRAVEL, a North Carolina Limited Liability
Company; ARIZIN VENTURES LLC, a Delaware
Limited Liability Company; CAROL MCDOWELL, in
her capacity as Personal Representative of the Estate of
James McDowell, deceased, a resident of Delaware;
SHELLY DEVRIES, in her capacity as Personal
Representative of the Estate of Bauke DeVries, deceased, a
resident of New Jersey; GULFSTREAM AEROSPACE
CORPORATION, a Georgia Corporation;
GULFSTREAM AEROSPACE CORPORATION, a
Delaware Corporation; GULFSTREAM AEROSPACE
SERVICES CORPORATION, d/b/a Gulfstream
Aerospace Corporation, a Delaware Corporation;
ROCKWELL COLLINS, INC., an Iowa Corporation;
HONEYWELL INTERNATIONAL, INC., a Delaware
Corporation; and the MASSACHUSETTS PORT
AUTHORITY, an independent public authority of the
Commonwealth of Massachusetts

                             Defendants,

SIC TRAVEL, LLC; SPINIELLO COMPANIES; and
ARIZIN VENTURES, LLC,

                            Third-Party Plaintiffs,

v.

UNITED STATES OF AMERICA,

                             Third-Party Defendant,
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    DEFENDANT CAROL MCDOWELL’S AMENDED ANSWER TO CORRECTED
       SECOND AMENDED COMPLAINT, AFFIRMATIVE DEFENSES, AND
                         CROSSCLAIMS

                                         General Allegations

        1.        Defendant Carol McDowell, as personal representative for the Estate of James

McDowell (“McDowell”) admits that Lewis A. Katz was killed on May 31, 2014 in a Gulfstream

G-IV airplane, Serial Number N121JM (“the Subject Aircraft”) that crashed at Laurence G.

Hanscom Field in Bedford Massachusetts (“the Subject Accident”). As to the remaining

allegations in paragraph 1, to the extent directed to McDowell, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of these allegations and so leaves Plaintiffs

to their proof.

        2.        McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 2 and so leaves Plaintiffs to their proof.

        3.        The allegations in paragraph 3 concerning the applicability of Mass Gen. Laws

ch. 229 §§ 2 and 6 call for legal conclusions for which no response is required. To the extent a

response to these allegations is required, and as to all other allegations in paragraph 3, including

its subparagraphs (a) and (b), McDowell lacks knowledge of information sufficient to form a

belief as to the truth of these allegations and so leaves Plaintiffs to their proof.

        4.        The allegations in paragraph 4 concerning the applicability of Fla. Stat. § 768.21

call for legal conclusions for which no response is required. To the extent a response to these

allegations is required, and as to all other allegations in paragraph 4, including its subparagraphs

(a) and (b), McDowell lacks knowledge of information sufficient to form a belief as to the truth

of these allegations and so leaves Plaintiffs to their proof.




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        5.      The allegations in paragraph 5 concerning “any other applicable wrongful death

statute” call for a legal conclusion for which no response is required. To the extent a response to

these allegations is required, and as to all other allegations in paragraph 5, McDowell lacks

knowledge of information sufficient to form a belief as to the truth of the allegations in

paragraph 5 and so leaves Plaintiffs to their proof.

                                             The Parties

        6.      McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 6 and so leaves Plaintiffs to their proof.

        7.      The allegations of paragraph 7 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 7 and so

leaves Plaintiffs to their proof.

        8.      The allegations of paragraph 8 are not directed to McDowell and therefore no

response is required. Further, to the extent the allegations of paragraph 8 concerning whether

James McDowell was employed by Spiniello at the time of the Subject Accident call for a legal

conclusion, no response is required. To the extent a response is required, McDowell admits only

that James McDowell’s salary was paid to Mr. McDowell by Spiniello and that McDowell

believes that James McDowell was in the course and scope of his employment with Spiniello at

the time of the Subject Accident. Notwithstanding the foregoing, McDowell may also have been

an employee and/or co-employee of decedent Lewis A. Katz and / or other parties to this action

at the time of the Subject Accident. Except as expressly admitted, McDowell lacks knowledge

of information sufficient to form a belief as to the truth of the allegations in paragraph 8 and so

leaves Plaintiffs to their proof.



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        9.      The allegations of paragraph 9 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 9 and so

leaves Plaintiffs to their proof.

        10.     McDowell admits that she and her decedent, James McDowell, have at all

material times been Delaware residents and that James McDowell was 1 of 2 pilots of the

Subject Aircraft at the time of the accident. The allegations of paragraph 10 concerning whether

James McDowell was employed by Spiniello at the time of the Subject Accident call for a legal

conclusion and therefore no response is required. To the extent a response is required,

McDowell also admits only that James McDowell’s salary was paid to Mr. McDowell by

Spiniello and that McDowell believes that James McDowell was in the course and scope of his

employment with Spiniello at the time of the Subject Accident. Notwithstanding the foregoing,

McDowell may also have been an employee and / or co-employee of decedent Lewis A. Katz

and / or other parties to this action at the time of the Subject Accident. As to the remaining

allegations in paragraph 10, McDowell lacks knowledge of information sufficient to form a

belief as to the truth of these allegations and so leaves Plaintiffs to their proof.

        11.     The allegations of paragraph 11 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell admits that Bauke Devries

was 1 of 2 pilots of the Subject Aircraft at the time of the Subject Accident. Except as expressly

admitted, McDowell lacks knowledge of information sufficient to form a belief as to the truth of

the allegations in paragraph 11 and so leaves Plaintiffs to their proof.

        12.     The allegations of paragraph 12 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of



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information sufficient to form a belief as to the truth of the allegations in paragraph 12 and so

leaves Plaintiffs to their proof.

        13.     The allegations of paragraph 13 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 13 and so

leaves Plaintiffs to their proof.

        14.     The allegations of paragraph 14 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 14 and so

leaves Plaintiffs to their proof.

        15.     The allegations of paragraph 15 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 15 and so

leaves Plaintiffs to their proof.

        16.     The allegations of paragraph 16 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 16 and so

leaves Plaintiffs to their proof.

        17.     The allegations of paragraph 17 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 17 and so

leaves Plaintiffs to their proof.




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        18.     The allegations of paragraph 18 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 18 and so

leaves Plaintiffs to their proof.

                                    Subject Matter Jurisdiction

        19.     The allegations of paragraph 19 call for a legal conclusion for which no response

is required. To the extent a response is required, McDowell denies the allegations in paragraph

19.



                                       Personal Jurisdiction

       20.      The allegations of paragraph 20 are not directed to McDowell and, further, call

for a legal conclusion and therefore no response is required. To the extent a response is required,

McDowell lacks knowledge of information sufficient to form a belief as to the truth of the

allegations in paragraph 20 and so leaves Plaintiffs to their proof.

       21.      The allegations of paragraph 21 are not directed to McDowell and, further, call

for a legal conclusion and therefore no response is required. To the extent a response is required,

McDowell lacks knowledge of information sufficient to form a belief as to the truth of the

allegations in paragraph 21 and so leaves Plaintiffs to their proof.

       22.      The allegations of paragraph 22 call for a legal conclusion for which no response

is required. To the extent a response is required, McDowell denies that her decedent, James

McDowell, caused tortious injury by an act or omission in the Commonwealth of Massachusetts.

As for the remaining allegations in paragraph 22, McDowell lacks knowledge of information




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sufficient to form a belief as to the truth of these allegations and so leaves Plaintiffs to their

proof.

         23.    The allegations of paragraph 23 are not directed to McDowell and, further, call

for a legal conclusion and therefore no response is required. To the extent a response is required,

McDowell lacks knowl edge of information sufficient to form a belief as to the truth of the

allegations in paragraph 23 and so leaves Plaintiffs to their proof.

         24.    The allegations of paragraph 24 call for a legal conclusion for which no response

is required. To the extent a response is required, McDowell lacks knowledge of information

sufficient to form a belief as to the truth of the allegations in paragraph 24 and so leaves

Plaintiffs to their proof.

         25.    The allegations of paragraph 25 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell admits that the Subject

Aircraft crashed in Massachusetts. Except as expressly admitted, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the remaining allegations in paragraph 25

and so leaves Plaintiffs to their proof.

         26.    The allegations of paragraph 26 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell admits that Subject

Aircraft crashed in Massachusetts. Except as expressly admitted, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the remaining allegations in paragraph 26

and so leaves Plaintiffs to their proof.

         27.    The allegations of paragraph 27 are not directed to McDowell and therefore no

response is required. Further, to the extent the allegations of paragraph 27 concerning whether

James McDowell was employed by Spiniello at the time of the Subject Accident call for a legal



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conclusion, no response is required. To the extent a response is required, McDowell admits that

her decedent, James McDowell, flew the Subject Aircraft to Massachusetts during and in the

course and scope of his employment. McDowell also admits only that James McDowell’s salary

was paid to Mr. McDowell by Spiniello and that McDowell believes that James McDowell was

in the course and scope of his employment with Spiniello at the time of the Subject Accident.

Notwithstanding the foregoing, McDowell may also have been an employee and / or co­

employee of decedent Lewis A. Katz and / or other parties to this action at the time of the

Subject Accident. McDowell denies that her decedent, James McDowell, engaged in tortious

conduct and caused injuries and death in Massachusetts. Except as expressly admitted and

denied, McDowell lacks knowledge of information sufficient to form a belief as to the truth of

the remaining allegations in paragraph 27 and so leaves Plaintiffs to their proof.

       28.     McDowell admits that her decedent, James McDowell, flew the Subject Aircraft

to Massachusetts. McDowell denies that her decedent, James McDowell, engaged in tortious

conduct and caused injuries and death in Massachusetts. Except as expressly admitted and

denied, McDowell lacks knowledge of information sufficient to form a belief as to the truth of

the remaining allegations in paragraph 28 and thus leaves Plaintiffs to their proof.

       29.     The allegations of paragraph 29 are not directed to McDowell and, further, call

for a legal conclusion and therefore no response is required. To the extent a response is required,

McDowell lacks knowledge of information sufficient to form a belief as to the truth of the

allegations in paragraph 29 and so leaves Plaintiffs to their proof.

       30.     The allegations of paragraph 30 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of




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information sufficient to form a belief as to the truth of the allegations in paragraph 30 and so

leaves Plaintiffs to their proof.

        31.     The allegations of paragraph 31 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 31 and so

leaves Plaintiffs to their proof.

        32.     The allegations of paragraph 32 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 32 and so

leaves Plaintiffs to their proof.

        33.     The allegations of paragraph 33 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 33 and so

leaves Plaintiffs to their proof.

        34.     THE CORRECTED SECOND AMENDED COMPLAINT OMITS

PARAGRAPH 34.

        35.     The allegations of paragraph 35 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 35 and so

leaves Plaintiffs to their proof.

        36.     The allegations of paragraph 36 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of




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information sufficient to form a belief as to the truth of the allegations in paragraph 36 and so

leaves Plaintiffs to their proof.

        37.     The allegations of paragraph 37 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 37 and so

leaves Plaintiffs to their proof.

        38.     The allegations of paragraph 38 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 38 and so

leaves Plaintiffs to their proof.

        39.     The allegations of paragraph 39 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to foim a belief as to the truth of the allegations in paragraph 39 and so

leaves Plaintiffs to their proof.

        39.     The allegations of paragraph 39 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 39 and so

leaves Plaintiffs to their proof.1

        40.     The allegations of paragraph 40 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to foim a belief as to the truth of the allegations in paragraph 40 and so

leaves Plaintiffs to their proof.



1 The Corrected Second Amended Complaint contains two paragraphs numbered “39.”
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        41.     The allegations of paragraph 41 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 41 and so

leaves Plaintiffs to their proof.

        42.     The allegations of paragraph 42 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 42 and so

leaves Plaintiffs to their proof.

        43.     The allegations of paragraph 43 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 43 and so

leaves Plaintiffs to their proof.

        44.     The allegations of paragraph 44 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

infoimation sufficient to form a belief as to the truth of the allegations in paragraph 44 and so

leaves Plaintiffs to their proof.

        45.     The allegations of paragraph 45 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 45 and so

leaves Plaintiffs to their proof.

        46.     The allegations of paragraph 46 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of




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information sufficient to form a belief as to the truth of the allegations in paragraph 46 and so

leaves Plaintiffs to their proof.

        47.     The allegations of paragraph 47 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 47 and so

leaves Plaintiffs to their proof.

        48.     The allegations of paragraph 48 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 48 and so

leaves Plaintiffs to their proof.

        49.     The allegations of paragraph 49 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 49 and so

leaves Plaintiffs to their proof.

        50.     The allegations of paragraph 50 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

infoimation sufficient to form a belief as to the truth of the allegations in paragraph 50 and so

leaves Plaintiffs to their proof.

        51.    The allegations of paragraph 51 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 51 and so

leaves Plaintiffs to their proof.




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        52.     The allegations of paragraph 52 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 52 and so

leaves Plaintiffs to their proof.

        53.     The allegations of paragraph 53 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 53 and so

leaves Plaintiffs to their proof.

        54.     The allegations of paragraph 54 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 54 and so

leaves Plaintiffs to their proof.

        55.     The allegations of paragraph 55 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 55 and so

leaves Plaintiffs to their proof.

                                               Venue

        56.     The allegations of paragraph 56 are not directed to McDowell and, further, call

for a legal conclusion and therefore no response is required. To the extent a response is required,

McDowell lacks knowledge of information sufficient to form a belief as to the truth of the

allegations in paragraph 56 and so leaves Plaintiffs to their proof.

        57.     The allegations of paragraph 57 are not directed to McDowell and, further, call

for a legal conclusion and therefore no response is required. To the extent a response is required,



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McDowell lacks knowledge of information sufficient to form a belief as to the truth of the

allegations in paragraph 57 and so leaves Plaintiffs to their proof.

        58.     McDowell admits that neither she nor her decedent, James McDowell, live or, at

the time of his death, lived in the Commonwealth of Massachusetts. The allegations of

paragraph 58 concerning the applicability of Mass. Gen. Laws ch. 223 § 1, call for a legal

conclusion for which no response is required. To the extent a response is required, and as to all

remaining allegations in paragraph 58, except as expressly admitted, McDowell lacks knowledge

of information sufficient to form a belief as to the truth of the allegations in paragraph 58 and so

leaves Plaintiffs to their proof.

                                         The Alleged Facts

                                              Introduction

        59.     McDowell admits that on May 31, 2014, James McDowell and Bauke DeVries

piloted the subject aircraft as it attempted to take off from the runway at Hanscom Field, that the

take-off was unsuccessful, and that the Subject Aircraft crashed. McDowell further admits that

the Subject Aircraft caught fire and that all seven people on board died, including James

McDowell, Bauke DeVries, and Lewis A. Katz. Except as expressly admitted, McDowell lacks

knowledge of information sufficient to form a belief as to the remaining allegations of paragraph

59 and so leaves Plaintiffs to their proof.

        60.     McDowell admits that if the Aircraft’s equipment and safety mechanisms had

functioned properly, the Accident would not have occurred. Except as expressly admitted and

denied, McDowell denies the remaining allegations in paragraph 60.

        61.     McDowell admits that if the Aircraft’s equipment and safety mechanisms,

including the Interlock Mechanism, had functioned properly, the Accident would not have



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occurred. Except as expressly admitted, McDowell lacks knowledge of information sufficient to

form a belief as to the truth of the remaining allegations of paragraph 61 and so leaves Plaintiffs

to their proof.

        62.       McDowell admits that if the Aircraft’s equipment and safety mechanisms had

functioned properly, the Accident would not have occurred. Except as expressly admitted,

McDowell lacks knowledge of information sufficient to form a belief as to the truth of the

allegations in paragraph 62 and so leaves Plaintiffs to their proof.



              The Alleged Sequence of Events and the Pilots’ Alleged Negligence

        63.       McDowell admits that on May 31, 2014, the Subject Aircraft flew from

Newcastle Airport in Wilmington, Delaware to Hanscom Field. Except as expressly admitted,

McDowell lacks knowledge of information sufficient to form a belief as to the truth of the

allegations in paragraph 63 and so leaves Plaintiffs to their proof.

        64.       McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 64 and so leaves Plaintiffs to their proof.

        65.       McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 65 and so leaves Plaintiffs to their proof.

        66.       McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 66 and so leaves Plaintiffs to their proof.

        67.       THE CORRECTED SECOND AMENDED COMPLAINT OMITS

PARAGRAPH 67.

        68.       McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 68 and so leaves Plaintiffs to their proof.



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         69.   McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 69 and so leaves Plaintiffs to their proof.

         70.   McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 70 and so leaves Plaintiffs to their proof.

         71.   McDowell lacks knowledge of information sufficient to foim a belief as to the

truth of the allegations in paragraph 71 and so leaves Plaintiffs to their proof.

         72.   McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 72 and so leaves Plaintiffs to their proof.

         73.   McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 73 and so leaves Plaintiffs to their proof.

         74.   McDowell lacks knowledge of infoimation sufficient to foim a belief as to the

truth of the allegations in paragraph 74 and so leaves Plaintiffs to their proof.

         75.   McDowell lacks knowledge of infoimation sufficient to foim a belief as to the

truth of the allegations in paragraph 75 and so leaves Plaintiffs to their proof.

         76.   McDowell lacks knowledge of infoimation sufficient to foim a belief as to the

truth of the allegations in paragraph 76, including footnote 1, and so leaves Plaintiffs to their

proof.

         77.   McDowell lacks knowledge of infoimation sufficient to form a belief as to the

truth of the allegations in paragraph 77 and so leaves Plaintiffs to their proof.

         78.   McDowell lacks knowledge of infoimation sufficient to form a belief as to the

truth of the allegations in paragraph 78 and so leaves Plaintiffs to their proof.

         79.   McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 79 and so leaves Plaintiffs to their proof.



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        80.     McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 80 and so leaves Plaintiffs to their proof.

        81.     McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 81 and so leaves Plaintiffs to their proof.

        82.    McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 82 and so leaves Plaintiffs to their proof.

        83.    McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 83 and so leaves Plaintiffs to their proof.

        84.    McDowell lacks knowledge of information sufficient to foim a belief as to the

truth of the allegations in paragraph 84 and so leaves Plaintiffs to their proof.

        85.    McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 85 and so leaves Plaintiffs to their proof.

        86.    McDowell lacks knowledge of information sufficient to foim a belief as to the

truth of the allegations in paragraph 86 and so leaves Plaintiffs to their proof.

        87.    McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 87 and so leaves Plaintiffs to their proof.

        88.    McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 88 and so leaves Plaintiffs to their proof.

        89.    McDowell lacks knowledge of infoimation sufficient to foim a belief as to the

truth of the allegations in paragraph 89 and so leaves Plaintiffs to their proof.

        90.    McDowell lacks knowledge of infoimation sufficient to form a belief as to the

truth of the allegations in paragraph 90 and so leaves Plaintiffs to their proof.




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        91.    McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 91 and so leaves Plaintiffs to their proof.

        92.     McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 92 and so leaves Plaintiffs to their proof.

        93.    McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 93 and so leaves Plaintiffs to their proof.

        94.    McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 94 and so leaves Plaintiffs to their proof.

        95.    McDowell lacks knowledge of information sufficient to form a belief as to the

truth of the allegations in paragraph 95 and so leaves Plaintiffs to their proof.

        96.    McDowell admits that a subsequent investigation found that the Pilots failed to

perform complete flight control checks before 98% of their previous 175 takeoffs in the Subject

Aircraft. McDowell denies, however, any implication from this admission that this investigation

was correct.

                  The Alleged Owners and Operators of the Subject Aircraft

       97.     McDowell admits that, at all times material to the Complaint, the Pilots were

flying the Subject Aircraft during and in the course of their employment. By way of further

answer, McDowell also admits only that James McDowell’s salary was paid to Mr. McDowell

by Spiniello and that McDowell believes that James McDowell was in the course and scope of

his employment with Spiniello at the time of the Subject Accident. Notwithstanding the

foregoing, and also by way of response to Plaintiffs’ alternative allegations in paragraph 97, Mr.

McDowell may also have been an employee and / or co-employee of decedent Lewis A. Katz

and / or other parties to this action, including SK Travel and/or Arizin, at the time of the Subject



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Accident. Except as expressly admitted, McDowell lacks knowledge of information sufficient to

form a belief as to the truth of the allegations in paragraph 97 and so leaves Plaintiffs to their

proof.

         98.    The allegations of paragraph 98 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 98 and so

leaves Plaintiffs to their proof.

         99.    The allegations of paragraph 99 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 99 and so

leaves Plaintiffs to their proof.

         100.   The allegations of paragraph 100 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 100 and so

leaves Plaintiffs to their proof.

         101.   The allegations of paragraph 101 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 101 and so

leaves Plaintiffs to their proof.

                                    The Alleged Defective Products

         102.   The allegations of paragraph 102 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of




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information sufficient to form a belief as to the truth of the allegations in paragraph 102 and so

leaves Plaintiffs to their proof.

        103.    The allegations of paragraph 103 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 103 and so

leaves Plaintiffs to their proof.

        104.    The allegations of paragraph 104 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 104 and so

leaves Plaintiffs to their proof.

        105.    The allegations of paragraph 105 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 105 and so

leaves Plaintiffs to their proof.

        106.    The allegations of paragraph 106 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 106 and so

leaves Plaintiffs to their proof.

        107.    The allegations of paragraph 107 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 107 and so

leaves Plaintiffs to their proof.

   Gulfstream’s Alleged Misrepresentations to the Federal Aviation Authority (“FAA”)



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        108.    The allegations of paragraph 108 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 108 and so

leaves Plaintiffs to their proof.

        109.    The allegations of paragraph 109 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 109 and so

leaves Plaintiffs to their proof.

        110.    The allegations of paragraph 110 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 110 and so

leaves Plaintiffs to their proof.

        111.    The allegations of paragraph 111 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

infoimation sufficient to foim a belief as to the truth of the allegations in paragraph 111 and so

leaves Plaintiffs to their proof.

        112.    The allegations of paragraph 112 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

infoimation sufficient to foim a belief as to the truth of the allegations in paragraph 112 and so

leaves Plaintiffs to their proof.

        113.    The allegations of paragraph 113 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of




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information sufficient to form a belief as to the truth of the allegations in paragraph 113 and so

leaves Plaintiffs to their proof.

        114.    The allegations of paragraph 114 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 114 and so

leaves Plaintiffs to their proof.

        115.    The allegations of paragraph 115 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 115 and so

leaves Plaintiffs to their proof.

        116.    The allegations of paragraph 116 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

infoimation sufficient to foim a belief as to the truth of the allegations in paragraph 116 and so

leaves Plaintiffs to their proof.

        117.    The allegations of paragraph 117 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

infoimation sufficient to form a belief as to the truth of the allegations in paragraph 117 and so

leaves Plaintiffs to their proof.

        118.    The allegations of paragraph 118 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 118 and so

leaves Plaintiffs to their proof.

       Gulfstream’s and Gulfstream Services’ Maintenance, Inspections, and Repairs
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        119.    The allegations of paragraph 119 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 119 and so

leaves Plaintiffs to their proof.

        120.    The allegations of paragraph 120 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 120 and so

leaves Plaintiffs to their proof.

        121.    The allegations of paragraph 121 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 121 and so

leaves Plaintiffs to their proof.

                                    Massport’s Alleged Negligence

        122.    The allegations of paragraph 122 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to foim a belief as to the truth of the allegations in paragraph 122 and so

leaves Plaintiffs to their proof.

        123.    The allegations of paragraph 123 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 123 and so

leaves Plaintiffs to their proof.

        124.    The allegations of paragraph 124 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of



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information sufficient to form a belief as to the truth of the allegations in paragraph 124 and so

leaves Plaintiffs to their proof.

        125.    The allegations of paragraph 125 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 125 and so

leaves Plaintiffs to their proof.

        126.    The allegations of paragraph 126 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 126 and so

leaves Plaintiffs to their proof.

        127.    The allegations of paragraph 127 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 127 and so

leaves Plaintiffs to their proof.

        128.    The allegations of paragraph 128 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 128 and so

leaves Plaintiffs to their proof.

        129.    The allegations of paragraph 129 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 129 and so

leaves Plaintiffs to their proof.




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        130.    The allegations of paragraph 130 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 130 and so

leaves Plaintiffs to their proof.

        131.    The allegations of paragraph 131 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 131 and so

leaves Plaintiffs to their proof.

        132.    The allegations of paragraph 132 are not directed to McDowell and therefore no

response is required. To the extent a response is required, McDowell lacks knowledge of

information sufficient to form a belief as to the truth of the allegations in paragraph 132 and so

leaves Plaintiffs to their proof.

                                 COUNT f
     CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE AND
 VICARIOUS LIABILITY, PURSUANT TO MASS GEN LAWS CH. 229 $ 2 AND FLA.
                   STAT. S 768.21 AGAINST SPINIELLO

133-142.        The allegations of Count 1 are not directed to McDowell and thus no response is

required. To the extent a response is required, McDowell incorporates by reference, as if fully

restated herein, her responses to paragraphs 1 through 132 as her response to paragraph 133. As

to paragraph 134, McDowell admits only that James McDowell’s salary was paid to Mr.

McDowell by Spiniello and that McDowell believes that James McDowell was in the course and

scope of his employment with Spiniello at the time of the Subject Accident. Notwithstanding the

foregoing, McDowell may also have been an employee and / or co-employee of decedent Lewis

A. Katz and / or other parties to this action at the time of the Subject Accident. As to paragraphs




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135 through 142, McDowell lacks knowledge of information sufficient to form a belief as to

these allegations and so leaves Plaintiffs to their proof.

                               COUNT 2
                    CLAIM OF CONSCIOUS SUFFERING,
         PURSUANT TO MASS GEN LAWS CH. 229 § 6, AGAINST SPINIELLO

        143-152.        The allegations of Count 2 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 143. As to paragraph 144, McDowell incorporates by reference her answer to

paragraph 134 above as though fully set forth at length herein. As to paragraphs 145 through

152, McDowell lacks knowledge of information sufficient to form a belief as to these allegations

and so leaves Plaintiffs to their proof.

                                   COUNT 3
                   CLAIM FOR PUNITIVE DAMAGES, PURSUANT TO
                   MASS GEN LAWS CH. 229 S 2, AGAINST SPINIELLO

        153-159.        The allegations of Count 3 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 153. As to paragraph 154 McDowell incorporates by reference her answer to

paragraph 134 above as though fully set forth at length herein. As to paragraphs 155 through

159, McDowell lacks knowledge of information sufficient to form a belief as to these allegations

and so leaves Plaintiffs to their proof.



                                COUNT 4
     CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE AND
 VICARIOUS LIABILITY, PURSUANT TO MASS GEN LAWS CH. 229 $ 2 AND FLA.
                  STAT. S 768.21 AGAINST SIC TRAVEL

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        160-169.        The allegations of Count 4 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 160. As to paragraph 161, McDowell admits only that James McDowell’s salary was

paid to Mr. McDowell by Spiniello and that McDowell believes that James McDowell was in the

course and scope of his employment with Spiniello at the time of the Subject Accident.

Notwithstanding the foregoing, and also by way of response to Plaintiffs’ alternative allegations

in paragraph 161, Mr. McDowell may also have been an employee and / or co-employee of

decedent Lewis A. Katz and / or other parties to this action, including SK Travel, at the time of

the Subject Accident. As to paragraph 162, McDowell admits that, if it is determined that Mr.

McDowell was an employee of SK Travel, SK Travel is vicariously and legally liable for Mr.

McDowell’s alleged negligence conducted during, and within the scope, of his employment with

SK Travel. As to paragraphs 163 through 169, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                              COUNT 5
 CLAIM OF WRONGFUL DEATH PREDICATED ON COMMON LAW DANGEROUS
  INSTRUMENTALITY LIABILITY, PURSUANT TO MASS GEN LAWS CH. 229 § 2
             AND FLA. STAT. § 768,21 AGAINST SK TRAVEL

        170-176.        The allegations of Count 5 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 170. As to paragraphs 171 through 176, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.




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                             COUNT 6
    CLAIM OF WRONGFUL DEATH PREDICATED ON VICARIOUS LIABILITY,
      PURSUANT TO MASS GEN LAWS CH, 229 S 2 AND FLA, STAT. § 768,21
                        AGAINST SIC TRAVEL

        177-183.        The allegations of Count 6 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 177. As to paragraphs 178 through 183, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                               COUNT 7
CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE. PURSUANT TO
  MASS GEN LAWS CH. 229 8 2 AND FLA, STAT. $ 768.21 AGAINST SIC TRAVEL

        184-191.       The allegations of Count 7 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 184. As to paragraphs 185 through 191, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                                COUNT 8
                     CLAIM OF CONSCIOUS SUFFERING,
         PURSUANT TO MASS GEN LAWS CH. 229 § 6, AGAINST SK TRAVEL

        192-201.        The allegations of Count 8 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 192. As to paragraphs 193 through 198, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof. As to

paragraph 199, McDowell admits only that James McDowell’s salary was paid to Mr. McDowell

by Spiniello and that McDowell believes that James McDowell was in the course and scope of

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his employment with Spiniello at the time of the Subject Accident. Notwithstanding the

foregoing, and also by way of response to Plaintiffs’ alternative allegations in paragraph 199,

Mr. McDowell may also have been an employee and / or co-employee of decedent Lewis A.

Katz and / or other parties to this action, including SIC Travel, at the time of the Subject

Accident. McDowell admits that, if it is determined that Mr. McDowell was an employee of SIC

Travel, SK Travel is vicariously and legally liable for Mr. McDowell’s alleged negligence

conducted during, and within the scope, of his employment with SIC Travel. Except as expressly

admitted, and as to paragraphs 200 through 201, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                                 COUNT 9
     CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE AND
  VICARIOUS LIABILITY PURSUANT TO MASS GEN LAWS CH. 229 § 2 AND FLA.
                     STAT, S 768.21 AGAINST ARIZIN

       202-211.         The allegations of Count 9 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 202. As to paragraph 203, McDowell admits only that James McDowell’s salary was

paid to Mr. McDowell by Spiniello and that McDowell believes that James McDowell was in the

course and scope of his employment with Spiniello at the time of the Subject Accident.

Notwithstanding the foregoing, and also by way of response to Plaintiffs’ alternative allegations

in paragraph 203, Mr. McDowell may also have been an employee and / or co-employee of

decedent Lewis A. Katz and / or other parties to this action, including Arizin, at the time of the

Subject Accident. As to paragraph 204, McDowell admits that, if it is determined that Mr.

McDowell was an employee of Arizin, Arizin is vicariously and legally liable for Mr.

McDowell’s alleged negligence conducted during, and within the scope, of his employment with

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Arizin. As to paragraphs 205 through 211, McDowell lacks knowledge of information sufficient

to form a belief as to these allegations and so leaves Plaintiffs to their proof.


                            COUNT 10
 CLAIM OF WRONGFUL DEATH PREDICATED ON COMMON LAW DANGEROUS
             INSTRUMENTALITY LIABILITY PURSUANT TO
              MASS GEN LAWS CH. 229 § 2 AGAINST ARIZIN

        212-221.        The allegations of Count 10 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 212. As to paragraphs 213 through 221, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                              COUNT 11
       CLAIM OF WRONGFUL DEATH PREDICATED VICARIOUS LIABILITY
       PURSUANT TO MASS GEN LAWS CH. 229 $ 2 AND FLA. STAT, § 768,21
                          AGAINST ARIZIN

        222-228.        The allegations of Count 11 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 222. As to paragraphs 223 through 228, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                           COUNT 12
 CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE PURSUANT TO
           MASS GEN LAWS CH. 229 $ 2 AND FLA, STAT $ 768.21
                        AGAINST ARIZIN

       229-239.         The allegations of Count 12 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to



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paragraph 229. As to paragraphs 230 through 239, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                            COUNT 13
 CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF NEGLIGENCE PURSUANT
            TO MASS GEN LAWS CH. 229 S 6 AGAINST ARIZIN

        240-256.        The allegations of Count 13 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 240. As to paragraphs 241 through 251, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof. As to

paragraph 252, McDowell admits only that James McDowell’s salary was paid to Mr. McDowell

by Spiniello and that McDowell believes that James McDowell was in the course and scope of

his employment with Spiniello at the time of the Subject Accident. Notwithstanding the

foregoing, and also by way of response to Plaintiffs’ alternative allegations in paragraph 252,

Mr. McDowell may also have been an employee and / or co-employee of decedent Lewis A.

Katz and / or other parties to this action, including Arizin, at the time of the Subject Accident.

McDowell admits that, if it is determined that Mr. McDowell was an employee of Arizin, Arizin

is vicariously and legally liable for Mr. McDowell’s alleged negligence conducted during, and

within the scope, of his employment with Arizin. Except as expressly admitted, and as to

paragraphs 253 through 256, McDowell lacks knowledge of information sufficient to form a

belief as to these allegations and so leaves Plaintiffs to their proof.



                               COUNT 14
CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE, PURSUANT TO
MASS. GEN. LAWS CH. 229 S 2 AND FLA. STAT. §768.21, AGAINST THE ESTATES
             OF JAMES MCDOWELL AND BAUKE DEVRIES

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        257.       McDowell incorporates by reference, as if fully restated herein, her responses to

paragraphs 1 through 132 as her response to paragraph 257.

        258.       McDowell admits that her decedent, James McDowell, and Bauke DeVries were

the pilots of the Subject Aircraft at the time of the Subject Accident

        259.       The allegations of paragraph 259 call for a legal conclusion for which no response

is required. To the extent a response is required, McDowell denies the allegations in paragraph

259.

        260.       The allegations of paragraph 260, including each of its subparagraphs (a) through

(r), call for a legal conclusion for which no response is required. To the extent a response is

required, McDowell denies the allegations in paragraph 260, including each of its subparagraphs

(a) through (r).

        261.       The allegations of paragraph 261 call for a legal conclusion for which no response

is required. To the extent a response is required, McDowell denies the allegations in paragraph

261.

        262.       The allegations of paragraph 262 call for a legal conclusion for which no response

is required. To the extent a response is required, McDowell denies the allegations in paragraph

262.

        263.       The allegations of paragraph 263 call for a legal conclusion for which no response

is required. To the extent a response is required, McDowell denies the allegations in paragraph

263.

        264.       The allegations of paragraph 264, including its subparagraphs (a) through (h), call

for a legal conclusion for which no response is required. To the extent a response is required,

McDowell denies the allegations in paragraph 264, including its subparagraphs (a) through (h).

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                            COUNT 15
CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF NEGLIGENCE, PURSUANT
              TO MASS. GEN. LAWS CH. 229 $ 6 AGAINST
       THE ESTATES OF JAMES MCDOWELL AND BAUKE DEVRIES

       265.    McDowell incorporates by reference, as if fully restated herein, her responses to

paragraphs 1 through 132 as her response to paragraph 265.

       266.    McDowell admits that her decedent, James McDowell, and Bauke DeVries were

the pilots of the Subject Aircraft at the time of the Subject Accident.

       267.    The allegations of paragraph 267 call for a legal conclusion for which no response

is required. To the extent a response is required, McDowell denies the allegations in paragraph

267.

       268.    The allegations of paragraph 268 call for a legal conclusion for which no response

is required. To the extent a response is required, McDowell denies the allegations in paragraph

268. including each of its subparagraphs (a) through (r), and so leaves Plaintiffs to their proof.

       269.    The allegations of paragraph 269 call for a legal conclusion for which no response

is required. To the extent a response is required, McDowell denies the allegations in paragraph

269.

       270.    The allegations of paragraph 270 call for a legal conclusion for which no response

is required. To the extent a response is required, McDowell denies the allegations in paragraph

270.

       271.    The allegations of paragraph 271 call for a legal conclusion for which no response

is required. To the extent a response is required, McDowell denies the allegations in paragraph

271.




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        272.   The allegations of paragraph 272 call for a legal conclusion for which no response

is required. To the extent a response is required, McDowell denies the allegations in paragraph

272.

                                COUNT 16
   CLAIM OF WRONGFUL DEATH PREDICATED ON THE BREACH OF THE
IMPLIED WARRANTY OF MERCHANTABILITY PURSUANT TO MASS GEN LAWS
        CH. 229 § 2 AND FLA. STAT. § 768.21 AGAINST GULFSTREAM

        273-286.        The allegations of Count 16 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 273. As to paragraphs 274 through 286, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                            COUNT 17
 CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF THE BREACH OF THE
WARRANTY OF MERCHANTABILITY PURSUANT TO MASS GEN LAWS CH. 229 §
                     6 AGAINST GULFSTREAM

       287-301.         The allegations of Count 17 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 287. As to paragraphs 288 through 301, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                           COUNT 18
CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE, PURSUANT TO
          MASS GEN LAWS CH. 229 S 2 AND FLA STAT, § 768.21,
                     AGAINST GULFSTREAM

       302-316.        The allegations of Count 18 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

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paragraph 302. As to paragraphs 303 through 316, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                            COUNT 19
CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF NEGLIGENCE, PURSUANT
         TO MASS GEN LAWS CH. 229 S 6, AGAINST GULFSTREAM

        317-333.        The allegations of Count 19 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if folly restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 317. As to paragraphs 318 through 333, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                              COUNT 20
                    CLAIM FOR PUNITIVE DAMAGES,
       PURSUANT TO MASS GEN LAWS CH. 229 § 2, AGAINST GULFSTREAM

        334-339.        The allegations of Count 20 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if folly restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 334. As to paragraphs 335 through 339, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                             COUNT 21
 CLAIM OF UNFAIR AND DECEPTIVE TRADE PRACTICES, PURSUANT TO MASS
             GEN LAWS CH. 93A $ 2, AGAINST GULFSTREAM

        340-358.        The allegations of Count 21 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if folly restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 340. As to paragraphs 341 through 358, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.



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                            COUNT 22
 CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE, PURSUANT TO
           MASS GEN LAWS CH. 229 § 2 AND FLA. STAT. $ 768.21,
          AGAINST GULFSTREAM AND GULFSTREAM SERVICES

        359-369.        The allegations of Count 22 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 359. As to paragraphs 360 through 369, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                                COUNT 23
 CLAIM OF WRONGFUL DEATH PREDICATED ON BREACH OF THE IMPLIED
WARRANTY OF MERCHANTABILITY, PURSUANT TO MASS GEN LAWS CH. 229 S
        2 AND FLA, STAT. $ 768.21, AGAINST ROCKWELL COLLINS

        370-378.       The allegations of Count 23 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 370. As to paragraphs 371 through 378, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                               COUNT 24
  CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF THE BREACH OF THE
IMPLIED WARRANTY OF MERCHANTABILITY. PURSUANT TO MASS GEN LAWS
              CH. 229 S 6, AGAINST ROCKWELL COLLINS

        379-388.        The allegations of Count 24 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 379. As to paragraphs 380 through 388, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.




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                            COUNT 25
 CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE, PURSUANT TO
           MASS GEN LAWS CH. 229 $ 2 AND FLA. STAT. g 768.21,
                   AGAINST ROCKWELL COLLINS

         389-400.        The allegations of Count 25 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 389. As to paragraphs 390 through 400, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                             COUNT 26
CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF NEGLIGENCE, PURSUANT
      TO MASS GEN LAWS CH. 229 8 6, AGAINST ROCKWELL COLLINS

        401-413.         The allegations of Count 26 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 401. As to paragraphs 402 through 413, McDowell lacks knowledge of infoimation

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                                COUNT 27
 CLAIM OF UNFAIR AND DECEPTIVE TRADE PRACTICES. PURSUANT TO MASS
          GEN LAWS CH. 93A S 2, AGAINST ROCKWELL COLLINS2

        414-429.          The allegations of Count 27 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 414. As to paragraphs 415 through 429, McDowell lacks knowledge of infoimation

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.



2 The heading of Count 24 references “Gulfstream,” however the allegations in Count 24 are directed to Rockwell
Collins. McDowell assumes that the reference to Gulfstream in the heading was a typographical error.

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                              COUNT 28
 CLAIM OF WRONGFUL DEATH PREDICATED ON BREACH OF THE IMPLIED
WARRANTY OF MERCHANTABILITY, PURSUANT TO MASS GEN LAWS CEL 229 §
           2 AND FLA. STAT. $ 768.21, AGAINST HONEYWELL

        430-438.        The allegations of Count 28 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 430. As to paragraphs 431 through 438, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                                COUNT 29
  CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF THE BREACH OF THE
IMPLIED WARRANTY OF MERCHANTABILITY, PURSUANT TO MASS GEN LAWS
                  CH, 229 § 6, AGAINST HONEYWELL

        439-448.        The allegations of Count 29 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 439. As to paragraphs 440 through 448, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                                COUNT 30
  CLAIM OF WRONGFUL DEATH PREDICATED NEGLIGENCE, PURSUANT TO
  MASS GEN LAWS CH, 229 § 2 AND FLA. STAT. § 768.21, AGAINST HONEYWELL

       449-460.         The allegations of Count 30 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 449. As to paragraphs 450 through 460, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.




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                            COUNT 31
CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF NEGLIGENCE, PURSUANT
         TO MASS GEN LAWS CH, 229 § 6, AGAINST HONEYWELL

        461 -473.      The allegations of Count 31 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 461. As to paragraphs 462 through 473, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.

                           COUNT 32
CLAIM OF WRONGFUL DEATH PREDICATED ON NEGLIGENCE. PURSUANT TO
          MASS GEN LAWS CH. 229 $ 2 AND FLA. STAT. § 768.21,
                      AGAINST MASSPORT

        474-488.        The allegations of Count 32 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 474. As to paragraphs 475 through 488, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.


                            COUNT 33
CLAIM OF CONSCIOUS SUFFERING AS A RESULT OF NEGLIGENCE, PURSUANT
          TO MASS GEN LAWS CH. 229 § 6, AGAINST MASSPORT

       489-504.         The allegations of Count 33 are not directed to McDowell and thus no

response is required. To the extent a response is required, McDowell incorporates by reference,

as if fully restated herein, her responses to paragraphs 1 through 132 as her response to

paragraph 489. As to paragraphs 490 through 504, McDowell lacks knowledge of information

sufficient to form a belief as to these allegations and so leaves Plaintiffs to their proof.




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                                  AFFIRMATIVE DEFENSES

        McDowell alleges the following defenses to the Amended Complaint. By alleging the

 defenses set forth below, McDowell does not allege or admit that McDowell had the burden of

proof and/or the burden of persuasion with respect to any of these matters. Further, McDowell

reserves the right to amend this Answer to assert additional defenses, counterclaims, and other

 claims and defenses based upon the discovery and investigation of this matter. McDowell

 alleges as follows:

                               FIRST AFFIRMATIVE DEFENSE

        505.    On information and belief, Lewis A. Katz and James McDowell were co­

 employees and therefore workers compensation provides Plaintiffs’ exclusive remedy. Counts

 14 and 15 of Plaintiffs’ Amended Complaint are therefore barred.

                             SECOND AFFIRMATIVE DEFENSE

        506.    Upon information and belief, Plaintiffs’ alleged injuries were proximately caused,

in whole or in part, by the negligence of other parties over whom neither McDowell nor her

 decedent, James McDowell, exercised any control. The negligence of these other parties bars or

 comparatively reduces McDowell’s liability, if any.

                              THIRD AFFIRMATIVE DEFENSE

        507.    Plaintiffs’ claims may be barred because Plaintiffs’ injuries, if any, were actually

or proximately caused, in whole or in part, by the intervening or superseding conduct of Plaintiff,

other parties, independent third parties, or events that were extraordinary under the circumstances,

not foreseeable in the normal course of events, or independent of or far removed from

McDowell’s conduct or control.




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                            FOURTH AFFIRMATIVE DEFENSE

       508.    Any recovery by Plaintiffs must be reduced or offset by amounts Plaintiffs have

received or will receive from other individuals and/or entities for the same injuries and damages

claimed in this lawsuit.

                                FIFTH AFFIRMATIVE DEFENSE

       509.    Plaintiffs allegations in Counts 14 and / or 15 fail to state a cognizable claim

upon which relief may be granted.

                              SIXTH AFFIRMATIVE DEFENSE

       510.    Plaintiffs lack capacity and / or standing to maintain this action.

                            SEVENTH AFFIRMATIVE DEFENSE

       511.    Plaintiffs decedent failed to exercise due care on his own behalf and / or

voluntarily elected to subject himself to a known risk.

                             EIGHTH AFFIRMATIVE DEFENSE

       512.    Plaintiffs’ claims against McDowell are barred on the grounds of public policy

and the doctrine of in pari delicti because the Accident was caused by Plaintiffs’ own

misconduct.

                             NINTH AFFIRMATIVE DEFENSE

       513.    Plaintiffs’ causes of action against McDowell are or may be barred by the

doctrine of unclean hands, because the Accident was cause, in whole or in part, by the Plaintiffs’

decedent’s own conduct.

                             TENTH AFFIRMATIVE DEFENSE

       514.    McDowell complied with all applicable federal laws and regulations and

Plaintiffs’ claims are preempted in whole or in part by applicable federal law, including but not

limited to, federal regulations and the Federal Aviation Act, 49 U.S.C. §§40101-49112.
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                           ELEVENTH AFFIRMATIVE DEFENSE

        515.   The action is barred by the applicable statute of limitations, limitations set forth in

the applicable wrongful death statute and / or by reason of a statute of repose.

                            TWELFTH AFFIRMATIVE DEFENSE

       516.    Plaintiffs have failed to join one or more indispensable parties necessary for the

proper adjudication of this action.

                          THIRTEENTH AFFIRMATIVE DEFENSE

       517.    The Plaintiffs failed to mitigate their alleged damages.

                         FOURTEENTH AFFIRMATIVE DEFENSE

       518.    Plaintiffs’ claims against McDowell have been released and / or discharged and /

or are barred under the doctrines of waiver and / or estoppel.

                           FIFTEENTH AFFIRMATIVE DEFENSE

       519.    Plaintiffs’ claims against McDowell are barred and / or Plaintiffs’ available

remedies, if any, are limited by contract or contractual remedies limitations.

                           SIXTEENTH AFFIRMATIVE DEFENSE

       520.    Plaintiffs and certain other parties were engaged in a joint enterprise such that any

negligence of those parties is imputed to Lewis A. Katz.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

       521.    Plaintiffs claims against McDowell are barred or limited based on the existence of

prior settlement agreements and the payment of settlement funds, including under Mass. Gen.

Laws Ann. Ch. 23 IB, §4.




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                          EIGHTEENTH AFFIRMATIVE DEFENSE

        522.   If McDowell is found liable, which liability is specifically denied, McDowell is

entitled to indemnity, contribution, and/or setoff from those persons or entities whose fault

caused or contributed to the damages for which recovery is sought and McDowell is further

entitled to liability protection to the full extent permitted under applicable law.

                          NINETEENTH AFFIRMATIVE DEFENSE

        523.   Plaintiffs’ claims are untimely pursuant to 12 Del. C. § 2102, Mass. Gen. Laws

ch. 190B, § 3-803, and / or other applicable non-claim statutes and are, therefore, barred.

                           MCDOWELL’S CROSSCLAIMS AGAINST
                               THIRD PARTY DEFENDANT

       524.    McDowell’s Crossclaims against Third-Party Defendant United States of America

(“United States”) arise from an accident involving the subject aircraft at Laurence G. Hanscom

Field Airport in Bedford, Massachusetts (“the Subject Accident”) on May 31, 2014 (“Accident”),

which resulted in the death of plaintiffs’ decedent, Lewis A. Katz (“Decedent”).

       525.    Plaintiffs, Drew Katz and Melissa Silver, on their own behalf and in their capacity

as the Co-Personal Representatives of the Estate of Lewis A. Katz, commenced the underlying

wrongful death and survival action against several defendants, including McDowell, to recover

damages for the death of Lewis A. Katz. See Corrected Second Amended Complaint.

       526.    Plaintiffs seek to hold McDowell liable for the Accident and the resulting death of

plaintiffs’ Decedent. See id. ^ 257-272.

       527.    At the time of the Accident, the Massachusetts Port Authority contracted with the

United States Air Force to provide aircraft rescue and firefighting (“ARFF”) services at the

Subject Accident as required by federal aviation regulations, 14 C.F.R. Part 139.

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       528.    At the time of the Accident, the United States was responsible for the ARFF

response to the subject Accident and had a duty to ensure that the ARFF response was carried

out to the degree of care owed to the owner and the operator of the Aircraft and the individuals

onboard the Aircraft and in accordance with 14 C.F.R. Part 139.

       529.    The United States breached this duty of care in the following ways:

               a.      Waiting more than 3 minutes after the Accident to begin fighting the fire

       with an extinguishing agent;

               b.      Providing a delayed and inadequate response to the Accident by running

       out of water during the attempted rescue;

               c.      Providing a delayed and inadequate response to the Accident by running

       out of fire-fighting foam during the attempted rescue;

               d.      Providing a delayed response to the Accident such that the individuals

       onboard the Aircraft remained trapped inside for 2 hours and 11 minutes after the alarm

       sounded and before the Aircraft door was removed;

               e.      Failing to put out the fire and remove the occupants of the Aircraft as

       quickly and expeditiously as possible; and

               f.      In otherwise being negligent.

       530.    To the extent that the United States’ breach of its duty caused or contributed in

any way to the death of Plaintiffs' Decedent, the United States is liable for breaching its duty that

caused or contributed to the Accident.

  MCDOWELL’S CROSSCLAIMS FOR CONTRIBUTION AGAINST THE UNITED
 STATES PURSUANT TO THE LAW FOUND APPLICABLE THERETO INCLUDING
                    MASS. GEN. LAWS CH.231B, § 1,




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        531.     McDowell restates and re-alleges the allegations in Paragraphs 524 through 530,

inclusive, as if fully set forth herein.

        532.     Should Plaintiffs be found to have suffered damages as alleged in their Amended

Complaint, due to any negligence or other culpable conduct other than their own, and if any

judgment is recovered herein by Plaintiffs against McDowell, concerning which any such

negligence or culpable conduct on the part of McDowell is denied, then McDowell will be

damaged thereby.

        533.     Therefore, McDowell demands judgment for contribution from United States, and

that the respective degrees of negligence and culpability of United States be ascertained,

determined and adjudicated, and that McDowell have judgment over United States for all or part of

any verdict or judgment obtained by Plaintiffs against McDowell.

        534.     McDowell is entitled to contribution from the United States for any damages in

excess of any proportionate or pro-rata share on the part of McDowell of the common liability,

concerning which McDowell denies, if any, in accordance with the law found applicable thereto,

including, but not limited to, Mass. Gen. Laws ch. 23IB, § 1(b).

              MCDOWELL’S CROSSCLAIMS FOR COMMON LAW
         INDEMNIFICATION AGAINST THE UNITED STATES PURSUANT TO
                   THE LAW FOUND APPLICABLE THERETO

        535.     McDowell restates and alleges the allegations in Paragraphs 524 through 530,

inclusive as if fully set forth herein.

        536.     Should Plaintiffs be found to have suffered damages as alleged in their Amended

Complaint, said damages were caused, in whole or in part, by the intentional conduct, carelessness,

negligence, act and/or omissions of the United States and not by any carelessness, negligence,

intentional acts or omissions by McDowell.




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       537.    Therefore, if, and in the event Plaintiffs recover any sum or judgment against

McDowell, then McDowell is entitled to indemnification by operation of the common law found

applicable thereto from the United States, for the full amount of any such sum or judgment.

       538.    As such, McDowell may be entitled to tort-based common law indemnification from

the United States for any judgment entered against McDowell and for attorney’s fees, costs, and

other expenses incurred by McDowell in defending itself in this action arising from the United

States’ negligence or culpable conduct.

       WHEREFORE, McDowell demands judgment in its favor over and against the United

States for contribution and common law indemnity pursuant to the foregoing, and that the Court

grant McDowell any other relief that it deems just and proper.

                                                      DEFENDANT
                                                      CAROL MCDOWELL, in her capacity as
                                                      Personal Representative of the Estate of
                                                      Janies McDowell

                                                      /s/Kevin M. Smith
                                                      Kevin M. Smith {admittedphv)
                                                      Erik H. Beard {admittedphv)
                                                      Joseph Merschman (BB0652527)
                                                      Wiggin and Dana LLP
                                                      One Century Tower
                                                      265 Church Street
                                                      New Haven, Connecticut 06510
                                                      Phone: (203) 498-4400
                                                      Fax: (203) 782-2889
                                                      Email: ksmith@wiggin.com
                                                      Email: ebeard@wiggin.com
                                                      Email: jmerschman@wiggin.com




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                                  CERTIFICATE OF SERVICE

        I hereby certify that, on August 21, 2017, a copy of the foregoing Amended Answer,

Affirmative Defenses, and Crossclaims was filed electronically and served by mail on anyone

unable to accept electronic filing. Notice of this filing will be sent by email to all parties by

operation of the Court’s electronic filing system or by mail to anyone unable to accept electronic

filing as indicated on the Notice of Electronic Filing. Parties may also access this filing through

the Court’s CM/ECF System.




                                                       /s/Kevin M. Smith
                                                       Kevin M. Smith {admittedphv)


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